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                      HO-13865

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         I.20210921.350687-HQ
                   9/10/2021 10:15 AM



                    Full-size Transcript

                       Prepared by:


                         HO-13865

                   Tuesday, June 06, 2023
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 1   UNITED STATES SECURITIES AND EXCHANGE COMMISSION

 2

 3   In the Matter of:    )

 4                        )   File No. HO-13865-A

 5   BINANCE.US           )

 6

 7   WITNESS:   Jamie Elizabeth Hinz

 8   PAGES:     1 through 184

 9   PLACE:     Securities and Exchange Commission

10              100 F Street, N.E.

11              Washington, D.C. 20549

12   DATE:      Friday, September 10, 2021

13

14        The above-entitled matter came on for hearing,

15   via WebEx, pursuant to notice, at 10:15 a.m.

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24            Diversified Reporting Services, Inc.

25                     (202) 467-9200



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 1   they were in Singapore.

 2        Q    And unofficially reported to you?

 3        A    Yeah, I would say there were in Singapore or China.

 4        Q    Okay, and what did they do?

 5        A    They, they would help with, with working with the

 6   products team.   There were some language barriers, so they

 7   would help with the language barriers.    They would help with

 8   covering any issues in the Asia Time Zone while I was asleep.

 9   They would do, you know, sort of the operational capacity in

10   their time zone, so making sure that there were no bugs in

11   the, in the website and making sure that the products were

12   working and moving forward with projects.

13        Q    Do you remember any of the names of who those

14   people that were unofficially reporting to you in Asia?

15        A    It would have been Helen Zhu and someone named

16   Ruilin, but I can’t remember all of their names.     It was just

17   those two that like I said unofficially were working with me

18   on operations.

19        Q    Could you spell Helen’s last name?

20        A    Z-h-u.

21        Q    And could you spell Ruilin?

22        A    R-u-i-l-I-n.

23        Q    Can you recall Ruilin’s last name?

24        A    No, I think it starts with a Z.

25        Q    Okay, so those were two people based in Asia who



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 1   worked for Binance.com who unofficially reported to you?

 2          A    During the last several months of my employment,

 3   yes.

 4          Q    Okay, so just during the course of your employment

 5   did you work with any developers or coders?

 6          A    Yes.

 7          Q    Okay, in what capacity?

 8          A    I would participate in their product meetings and

 9   engineering sprint meetings to help project manager the items

10   that they were working on, coding and help review some of the

11   designs of what they were building.

12          Q    Can you name the product or the projects that you

13   worked on?

14          A    There’s a lot, so I’ll name some of them.   I worked

15   on the Buy Crypto products, the one click buy/sell product.

16   I worked on the recurring buy product, and I worked on yeah,

17   other features that were, you know, improvements to the

18   website, adding debit cards and adding OTC desk, provided

19   general support to the engineers who were making the

20   products.

21          Q    Would some of the projects with the developers or

22   coders include staking?

23          A    Yes, yes, I worked on that.

24          Q    And was that staking for Binance.US?

25          A    Yes.



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 1        Q      And did you help with staking with Binance.com?

 2        A      No, I, I didn’t help in the launch of Binance.com’s

 3   staking product.

 4        Q      And so, who employed the developers or coders that

 5   you worked with for various projects?

 6        A      Binance.com.

 7        Q      Any other employers?

 8        A      Not to my knowledge.

 9        Q      Did you ever work with any developers or coders

10   with the website or app?

11        A      Yes.

12        Q      And who employed those coders?

13        A      Binance.com.

14        Q      Okay, how often were you interacting with

15   developers or coders on these, these kinds of products,

16   projects?

17        A      Almost every day.

18        Q      Okay, through meetings?

19        A      Through meetings or messaging.

20        Q      And what do you mean by messaging?

21        A      Sending, you know, work communications over, over

22   messaging like through WebEx or Slacker, something like that.

23        Q      Or Telegram?

24        A      Or Telegram, yeah.

25        Q      So, messaging you’re just meaning sort of using



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 1   sort of chat messaging services?

 2        A    Yeah.

 3        Q    Okay, besides developers and coders were there any

 4   contractors that you worked with at, regularly?

 5        A    I don’t think so.

 6        Q    Okay, and you’d mentioned that you worked regularly

 7   with vendors, is that correct?

 8        A    Yes.

 9        Q    Okay, are you counting Binance.com as a vendor?

10        A    That, that wasn’t what I was referring to when I

11   said that –-

12        Q    Okay, what were you referring to by vendors?

13        A    Companies like Prime Trust, or –-

14        Q    Any others?

15        A    -- would be another, or like Chainalysis.

16        Q    Did you ever work with Silver Bank?

17        A    Yeah, I, I would have worked with Silvergate Bank

18   if that’s what you meant.

19        Q    Yes, Silvergate Bank, thank you for clarifying.

20   Any other vendors?

21        A    Not that I can remember, those are the main ones.

22        Q    And what kind of projects would you work on with

23   some of these vendors?

24        A    Making sure that their service that they were

25   providing us was working well.   And then helping to build



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 1   Brian’s review.   But no, I didn’t, you know, beyond that

 2   first few weeks of helping out with getting out of the

 3   corporate onboarding queue I didn’t participate in the, you

 4   know, never did the compliance reviews or anything like that

 5   because I was not part of the compliance team.

 6        Q     Now, you said you originally expected though to

 7   work on compliance is that, is that correct?

 8        A     I was really hired by Catherine Coley to be a, be

 9   her, you know, operations kind of right hand man.     So, I

10   don’t have a background in compliance and no, I did not

11   expect to be working on compliance reviews.    Although I know

12   that that was part of the title that I agreed to when I

13   joined.    That wasn’t like my understanding with Coley.

14        Q     And what part of your background does relate to

15   operations?

16        A     My consulting background.   So, helping, you know,

17   clients at Eli, figure out their operations both to be, you

18   know, to be an efficiently operating company and figure out

19   the operations in order to, to stand up some type of crypto

20   product.

21        Q     Okay, so going back to these accounts could you

22   just create more than one?

23        A     No, my understanding was that you, you could not

24   create more than one account because it would have been tied

25   to your Social Security number.



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 1        Q    But what about if an individual was also affiliated

 2   with like a corporation?   So, they individual might have

 3   helped open a corporation account, could that individual also

 4   have an individual account?

 5        A    It would depend on what name was used for the

 6   corporation, you know, depending on, on what name would be

 7   used in the corporation I guess.

 8        Q    So, it sounded like it could be very strict then,

 9   you know, you couldn’t have John Smith open a corporate

10   account and then John Smith, the same John Smith try to open

11   an individual account, is that correct?

12        A    Yes, that’s, that was my understanding.

13        Q    Okay, and what were the ways, different ways of

14   accessing a Binance.US account?

15        A    You could use the mobile app, you could use the

16   website or you could use the API.

17        Q    Any others?

18        A    No, not that I can think of, no.

19        Q    Let’s see, how was account holder information

20   stored?

21        A    It was stored in an internal database, and some

22   information would be held at Prime Trust.

23        Q    You know, unfortunately for me the audio cut out

24   for the first part of your answer; if you could repeat that

25   please?



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 1        A    Customer information was stored in an internal

 2   database, and there would have also been customer information

 3   at Prime Trust for level three customers.

 4        Q    Okay, were they stored in any other way?

 5        A    No, not to my knowledge.

 6        Q    Could you elaborate more on what you mean by this

 7   internal database?

 8        A    When users signed up for an account that

 9   information was sent to vendors, so sent to, through Gmail

10   for verification or sent through Identity Mind for

11   verification.   And then information from those systems and

12   from the website was also feeding into an internal database.

13        Q    Do you have a name?

14        A    Some people called it PNK admin.

15        Q    Did you call it that?

16        A    Sometimes I just called it the back end, but yeah,

17   I would have called it PNK for short.

18        Q    Okay, and where was the PNK stored?

19        A    On an Amazon Web Services service.

20        Q    Was that a service that you would have worked with

21   in your role in operations?

22        A    I didn’t set up the, the database management or

23   the, the cloud management so no.

24        Q    Who did?

25        A    I’m not sure.



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